                       THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION




UNITED STATES OF AMERICA                           Nos. 3:06-CR-74-3 (Britt)
                                                        3:06-CR-403 (Britt)
               v.
                                                                 ORDER
SAMUEL THOMAS CURRIN




       This matter is before the Court on Defendant Samuel Thomas Currin’s unopposed motion

to stay the date on which he is due to report to the Bureau of Prisons by thirty (30) days from March

19, 2008, to April 19, 2008. For good cause shown, the motion is ALLOWED.

       The date on which Defendant Currin has to report to the Bureau of Prisons is stayed until

April 19, 2008.

       This 14 March 2008.




                                              __________________________________
                                                     W. Earl Britt
                                                     Senior U.S. District Judge




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